Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 1 of 9 PageID #: 5
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 2 of 9 PageID #: 6
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 3 of 9 PageID #: 7
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 4 of 9 PageID #: 8
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 5 of 9 PageID #: 9
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 6 of 9 PageID #: 10
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 7 of 9 PageID #: 11
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 8 of 9 PageID #: 12
Case 5:21-cv-00040-JPB Document 1-1 Filed 03/19/21 Page 9 of 9 PageID #: 13
